         Case 1:01-cr-05137-LJO Document 476 Filed 09/06/05 Page 1 of 2


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Attorneys for Defendant
ALFRED FORD




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF CALIFORNIA

                                      FRESNO VENUE

UNITED STATES OF AMERICA,                )                NO. 1:01-CR-05137 AWI
                                         )
      Plaintiff,                         )                STIPULATION AND ORDER
                                         )                CONTINUING STATUS
vs.                                      )                CONFERENCE
                                         )
ALFRED FORD,                             )
                                         )
      Defendant.                         )
_________________________________________)


       Defendant ALFRED FORD, by and through his attorney, Colin Cooper, and the United

States, by and through Assistant United States Attorney Kevin P. Rooney, hereby stipulate and

agree to continue the status conference in the above-captioned case from Tuesday, September

6, 2005, at 9:00 a.m. to Monday, September 19, 2005, at 9:00 a.m. The parties further

stipulate and agree that the period from September 6, 2005 to September 19, 2005 is

excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8).



DATED: September 1, 2005                   /s/COLIN L. COOPER
                                           Attorney for Defendant ALFRED FORD


DATED: September 1, 2005                   /s/ KEVIN P. ROONEY
                                           Assistant United States Attorney
         Case 1:01-cr-05137-LJO Document 476 Filed 09/06/05 Page 2 of 2


       GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

       IT IS HEREBY ORDERED that the status conference scheduled for September 6, 2005,

is continued to September 19, 2005, at 9:00 a.m. and that the period from September 6, 2005

to September 19, 2005 is excludable from calculation under the Speedy Trial Act pursuant to 18

U.S.C. §3161(h)(8).



IT IS SO ORDERED.

Dated:    September 5, 2005                     /s/ Anthony W. Ishii
0m8i78                                    UNITED STATES DISTRICT JUDGE
